 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 1 of 41

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT ()F PENNSYLVANIA

UNITED STATES OF AMERICA 1 NO. 1116'CR'82

 

 

v. : (JUDGE YVETTE KAI%|EB
f EB
scoTT LANE : HARRlsauna, m
Defendant 1 JAN 1 1 2518
Per J
PLEA AGREEMENT w
D€bey C|erk *

The following Plea Agreement is entered into by the United States
Attorney for the l\/liddle District of Pennsylvania and the above'
captioned defendant. Any reference to the United States or to the
GoVernment in this Agreement shall mean the Offlce of the United

States Attorney for the l\/liddle District of Pennsylvania.

A. Violation(s), Penalties. and Dismissal of Other Counts

l. Guilty plea. The defendant agrees to plead guilty to Count 9
of the Superseding lndictment, Which charges the defendant With a
Violation of Title 18, United States Code, Section 225l(a), SeXual
EXploitation of Children - Production of Child Pornography, in Violation
of Title 18, United States Code, Section 2251(a). The maximum penalty

for that offense is imprisonment for a period of 30 years, a fine of

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 2 of 41

$250,000, up to lifetime supervised release to be determined by the
court, Which shall be served at the conclusion of, and in addition to, any
term of imprisonment, as Well as the costs of prosecution,
imprisonment, probation, or supervised release ordered, denial of
certain federal benefits, forfeiture, and an assessment in the amount of
$100, and an assessment of $5,000. At the time the guilty plea is
entered, the defendant shall admit to the court that the defendant is, in
fact, guilty of the offense(s) charged in that count.

2. The defendant agrees to plead guilty to Count 10 of the
Superseding lndictment, Which charges the defendant With a violation
of Title 18, United States Code, Section 2251(e), Criminal Conspiracy to
Produce Child Pornography, in violation of Title 18, United States Code,
Section 2251(a). The maximum penalty for that offense is
imprisonment for a period of 30 years, a fine of $250,000, up to lifetime
supervised release to be determined by the court, Which shall be served
at the conclusion of, and in addition to, any term of imprisonment, as
Well as the costs of prosecution, imprisonment, probation, or supervised

release ordered, denial of certain federal benefits, forfeiture, and an

2

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 3 of 41

assessment in the amount of $100, and an assessment of $5,000. At the
time the guilty plea is entered, the defendant shall admit to the court
that the defendant is, in fact, guilty of the offense(s) charged in that
count.

3. The defendant agrees to plead guilty to Count ll of the
Superseding lndictment, Criminal Conspiracy to Receive and Distribute
Child Pornography, in violation of Title 18, United States Code, Section
2252(a)(2). The maximum penalty for that offense is imprisonment for
a period of 20 years, a fine of $250,000, up to lifetime supervised release
to be determined by the court, Which shall be served at the conclusion
of, and in addition to, any term of imprisonment, as Well as the costs of
prosecution, imprisonment, probation, or supervised release ordered,
denial of certain federal benefits, forfeiture, and an assessment in the
amount of $lOO, and an assessment of $5,000. At the time the guilty
plea is entered, the defendant shall admit to the court that the
defendant is, in fact, guilty of the offense(s) charged in that count.

4. The defendant agrees to plead guilty to Count 12 of the

Superseding lndictment, Which charges the defendant With Receipt and
3

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 4 of 41

Distribution of Child Pornography, in violation of Title 18, United
States Code, Section 2252(a)(2). The maximum penalty for that offense
is imprisonment for a period of 20 years, a fine of $250,000, up to
lifetime supervised release to be determined by the court, Which shall
be served at the conclusion of, and in addition to, any term of
imprisonment, as Well as the costs of prosecution, imprisonment,
probation, or supervised release ordered, denial of certain federal
benefits, forfeiture, and an assessment in the amount of $100, and an
assessment of $5,000. At the time the guilty plea is entered, the
defendant shall admit to the court that the defendant is, in fact, guilty
of the offense(s) charged in that count.

5. The defendant agrees to plead guilty to Count 13 of the
Superseding lndictment, Which charges the defendant With a violation
of Title 18, United States Code, Section 2251(e), Criminal Conspiracy to
Publish a Notice or advertisement seeking Child Pornography, in
violation of Title 18, United States Code, Section 2251(d). The
maximum penalty for that offense is imprisonment for a period of 30

years, a fine of $250,000, up to lifetime supervised release to be
4

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 5 of 41

determined by the court, Which shall be served at the conclusion of, and
in addition to, any term of imprisonment, as Well as the costs of
prosecution, imprisonment, probation, or supervised release ordered,
denial of certain federal benefits, forfeiture, and an assessment in the
amount of $100, and an assessment of $5,000. At the time the guilty
plea is entered, the defendant shall admit to the court that the
defendant is, in fact, guilty of the offense(s) charged in that count.

6. The defendant agrees to plead guilty to Count 14 of the
Superseding lndictment, Which charges the defendant With a violation
of Title 18, United States Code, Section 2251(d), Publish a Notice or
advertisement seeking Child Pornography, in violation of Title 18,
United States Code, Section 2251(d). The maximum penalty for that
offense is imprisonment for a period of 30 years, a fine of $250,000, up
to lifetime supervised release to be determined by the court, Which shall
be served at the conclusion of, and in addition to, any term of
imprisonment, as Well as the costs of prosecution, imprisonment,
probation, or supervised release ordered, denial of certain federal

benefits, forfeiture, and an assessment in the amount of $100, and an

5

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 6 of 41

assessment of $5,000. At the time the guilty plea is entered, the
defendant shall admit to the court that the defendant is, in fact, guilty
of the offense(S) charged in that count.

7. After sentencing, the United States Will move for dismissal
of any remaining counts. The defendant agrees, however, that the
United States may, at its sole election, reinstate any dismissed counts
or seek additional charges in the event the charge(s) to Which the
defendant pleads guilty pursuant to this Agreement subsequently are
vacated, set aside, or invalidated by the district court or appellate court,
The defendant further agrees to Waive any defenses to reinstatement of
those charges or additional charges based upon laches, the assertion of
speedy trial rights, any applicable statute of limitations, or any other
ground. The calculation of time under the Speedy Trial Act for When
trial must commence is tolled as of the date of the defendant’s signing of
this Plea Agreement.

8. l\/landatorv l\/[inimum Sentences. Counts 9, 10, 13 and 14

carry a mandatory minimum period of imprisonment of 15 years on

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 7 of 41

each count. Counts 11 and 12 carry a mandatory minimum period of
imprisonment of 5 years on each count.

9. Term of Supervised Release. The defendant also
understands that the court must impose a term of supervised release
following any sentence of imprisonment exceeding one (1) year, or When
required by statute. The court may require a term of supervised release
in any other case. ln addition, the defendant understands that, as a
condition of any term of supervised release or probation, the court must
order that the defendant cooperate in the collection of a DNA sample if
the collection of a sample is so authorized by laW.

10. l\/laximum Sentence - l\/lultiple Counts. The defendant
understands that the total, maximum possible sentence for all charges
is the combination of penalties described above; that is, up 160 years of
imprisonment and/or fines totaling $1,500,000, up to a lifetime of
supervised release, the costs of prosecution, denial of certain federal
benefits, forfeiture, and an assessment totaling $30,600.

11. No Further Prosecution, Except Tax Charg§. The United

States Attorney’s Office for the Middle District of Pennsylvania agrees
7

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 8 of 41

that it Will not bring any other criminal charges against the defendant
directly arising out of the defendant’s involvement in the offense(s)
described above. Hovvever, nothing in this Agreement Will limit
prosecution for criminal tax charges, if any, arising out of those

offenses.

B. Fines and Assessments

12. §in_e. The defendant understands that the court may impose
a fine pursuant to the Sentencing Reform Act of 1984. The Willful
failure to pay any fine imposed by the court, in full, may be considered a
breach of this Plea Agreement Further, the defendant acknowledges
that Willful failure to pay the fine may subject the defendant to
additional criminal violations and civil penalties pursuant to Title 18,
United States Code, Section 3611, et seq.

13. Alternative Fine. The defendant understands that under the
alternative fine section of Title 18, United States Code, Section 3571,
the maximum fine quoted above may be increased if the court finds that

any person derived pecuniary gain or suffered pecuniary loss from the

8

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 9 of 41

offense and that the maximum fine to be imposed, if the court elects to
proceed in this fashion, could be twice the amount of the gross gain or
twice the amount of the gross loss resulting from the offense.

14. Special Assessment. The defendant understands that the
court will impose a special assessment of $600 pursuant to the
provisions of Title 18, United States Code, Section 3013. Not later than
the date of sentencing, the defendant or defendant’s counsel shall mail a
check in payment of the special assessment directly to the Clerk, United
States District Court, Middle District of Pennsylvania. lf the defendant
intentionally fails to make this payment this failure may be treated as a
breach of this Plea Agreement and may result in further prosecution,
the filing of additional criminal charges, or a contempt citation.

15. Collection of Financial Obligations. In order to facilitate the
collection of financial obligations to be imposed in connection with this
case, defendant consents and agrees to the following!

(a) to fully disclose all assets in which defendant has an interest

or over which defendant has control, directly or indirectly§

including those held by a spouse, nominee, or other third party.
9

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 10 of 41

(b) to submit to interviews by the Government regarding the
defendant’s financial status;

(c) to submit a complete, accurate and truthful financial statement
on the form provided by the Government to the United States
Attorney’s Office not later than 14 days following entry of the
guilty plea;

(d) whether represented by counsel or not, to consent to contact by
and communication with the Government, and to waive any
prohibition against communication with a represented party by
the Government regarding defendant’s financial status;

(e) to authorize the Government to obtain the defendant’s credit
reports in order to evaluate the defendant’s ability to satisfy any
financial obligations imposed by the court;

(f) to submit any financial information requested by the Probation
Office as directed and to the sharing of financial information

between the Government and the Probation Office.

10

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 11 of 41

C. SentencingGuidelines Calculation

16. Determination of Sentencing Guidelines. The defendant and
counsel for both parties agree that the United States Sentencing
Commission Guidelines, which took effect on November 1, 1987, and its
amendments, as interpreted by United States V. Booker, 543 U.S. 220
(2005), will apply to the offense or offenses to which the defendant is
pleading guilty. The defendant further agrees that any legal and
factual issues relating to the application of the Federal Sentencing
Guidelines to the defendant’s conduct, including facts to support any
specific offense characteristic or other enhancement or adjustment and
the appropriate sentence within the statutory maximums provided for
by law, will be determined by the court after briefing, a pre'sentence
hearing, and/or a sentencing hearing.

17. Acceptance of Responsibilitv- Two Levels. If the defendant
can adequately demonstrate recognition and affirmative acceptance of
responsibility to the Government as required by the Sentencing
Guidelines, the Government will recommend that the defendant receive

a two'level reduction in the defendant’s offense level for acceptance of

11

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 12 of 41

responsibility The failure of the court to find that the defendant is
entitled to a two'level reduction shall not be a basis to void this Plea

Agreeme nt.

D. Sentencing Recommendation

18. Appropriate Sentence Recommendation. At the time of
sentencing, the United States may make a recommendation that it
considers appropriate based upon the nature and circumstances of the
case and the defendant’s participation in the offense, and specifically
reserves the right to recommend a sentence up to and including the
maximum sentence of imprisonment and fine allowable, together with
the cost of prosecution

19. Special Conditions of Probation/Supervised Release. lf
probation or a term of supervised release is ordered, the United States
may recommend that the court imposed one or more special conditions,
including but not limited to the followingi

(a) The defendant be prohibited from possessing a firearm or other

dangerous weapon.

12

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 13 of 41

(b) The defendant make restitution, if applicable, payment of
which shall be in accordance with a schedule to be determined by
the court

(c) The defendant pay any fine imposed in accordance with a
schedule to be determined by the court,

(d) The defendant be prohibited from incurring new credit charges
or opening additional lines of credit without approval of the
Probation Office unless the defendant is in compliance with the
payment schedule.

(e) The defendant be directed to provide the Probation Office and
the United States Attorney access to any requested financial
information

(f) The defendant be confined in a community treatment center,
halfway house, or similar facility.

(g) The defendant be placed under home confinement

(h) The defendant be ordered to perform community service.

13

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 14 of 41

(i) The defendant be restricted from working in certain types of
occupations or with certain individuals, if the Government deems
such restrictions to be appropriate.

G) The defendant be directed to attend substance abuse counseling
which may include testing to determine whether the defendant is
using drugs or alcohol.

(k) The defendant be directed to attend psychiatric or
psychological counseling and treatment in a program approved by
the Probation Officer.

(l) The defendant be denied certain federal benefits including
contracts, grants, loans, fellowships and licenses.

(m) The defendant be directed to pay any state or federal taxes
and file any and all state and federal tax returns as required by

law.

E. Forfeiture of Assets
20. Forfeiture. The present indictment seeks forfeiture of the

defendant’s interests in certain assets. ln the event the United States

14

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 15 of 41

seeks to forfeit those assets through a civil proceeding, the defendant
understands that dismissal of the criminal forfeiture allegation in no
way limits the United States from proceeding civilly against any assets
owned or held by the defendant or any other party. Defendant agrees to
settle any civil and criminal forfeiture matters arising out of the
charges in Counts 9, 10, 11, 12, 13 and 14 and the facts referenced in
the Factual Basis, incorporated herein. Defendant further agrees to the
following!
(a) Forfeiture of- All electronic devices seized at the time of
defendant’s arrest in New York pursuant to 18 U.S.C. § 2253(a)(1)
and (a)(3), and on the grounds set forth in the order of forfeiture;
(b) lmmediate entry of the preliminary order of forfeiture and/or
the filing of a civil complaint by the United States pursuant to
Title 18, United States Code, Section 981, regarding any
forfeitable property; to the extent necessary, l waive notice of
forfeiture as to any asset l have agreed to forfeit and waive oral

pronouncement at sentencing;

15

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 16 of 41

(c) Waiver of the right to personal service of all process and
naming of Gerald A. Lord as agent for service of all process;

(d) Waiver of the right to appear and contest any portion of the
forfeiture proceedings, including but not limited to, any motion or
proceeding for substitute assets;

(e) The filing and entry of a consent decree of forfeiture;

(f) Disclosure, no later than upon signing this Agreement of all
persons and entities holding an equitable or legal interest in any
property, real or personal, subject to forfeiture pursuant to this
Agreement;

(g) Concurrence in any motion necessary to be filed and signing
any documents necessary to effectuate forfeiture;

(h) Payment of costs associated with the seizure, storage, and
maintenance of the any asset being returned to defendant as a
result of this Agreement;

(i) ln the event any assets are being returned to the defendant
such return does not amount to having “substantially prevailed”

in the pursuit of any claim, and to make no claim against the

16

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 17 of 41

United States or any of its agencies or employees, including claims

for attorney fees and costs of litigation;

G) Waiver of any double jeopardy challenges the defendant may

have to any administrative or civil forfeiture actions, pending or

completed, arising out of the course of conduct forming the basis

for the forfeitures

21. Disclosure of Assets. This Agreement is being entered into
by the United States on the basis of the express representation that the
defendant is making full and complete disclosure of all assets over
which the defendant exercises control. The defendant agrees to submit
to a polygraph examination by an examiner selected by the Government
to verify the defendant’s complete and candid compliance with this
provision*of the Plea Agreement The defendant also understands that
a failure to make a full disclosure or lack of candor revealed by a
polygraph examination would constitute a breach of this Plea
Agreement subjecting the defendant to the sanctions set forth in this

Plea Agreement

17

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 18 of 41

22. Forfeiture of lnterests/Passage of Clear Title/Destruction
_()_rdg. By this Agreement, the defendant agrees to forfeit all interests
in the assets set forth above and to take whatever steps are necessary
to pass clear title of those assets to the United States. These steps
include but are not limited to surrender of title; signing of a consent
decree; stipulating to facts regarding the transfer and basis for the
forfeitures; and concurrence in any motion and signing any document
necessary to effectuate such transfers. The defendant further agrees,
should the United States deem it appropriate, to the destruction of the
items seized during the course of the investigation The defendant
agrees that the items may be destroyed by the investigative agency with
or without a court order authorizing the destruction of the items seized.
lf the United States determines that a destruction order should be
obtained, the defendant and defendant’s counsel hereby concur in a

motion for such an order.

18

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 19 of 41

F. Victims’ Rights and Restitution

23. Victims’ Rights. The defendant understands that pursuant
to the Victim and Witness Protection Act, the Crime Victims’ Rights
Act, the Justice for All Act, and the regulations promulgated under
those Acts by the Attorney General of the United States, crime victims
have the following rightsf

(a) The right to be reasonably protected from the accused;

(b) The right to reasonable, accurate, and timely notice of any

public court proceeding or any parole proceeding involving the

crime, or of any release or escape of the accused;

(c) The right not to be excluded from any such public court

proceeding, unless the court, after receiving clear and convincing

evidence, determines that testimony by the victim would be
materially altered if the victim heard other testimony at that
proceeding§

(d) The right to be reasonably heard at any public hearing in the

district court involving release, plea, sentencing, or any parole

proceeding The defendant understands that the victim’s
19

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 20 of 41

comments and recommendations at any of these proceedings may
be different than those of the parties to this Agreement;

(e) The reasonable right to confer with the attorney for the
Government in the case. The defendant understands that the
victim’s opinions and recommendations given to the attorney for
the Government may be different than those presented by the
United States as a consequence of this Agreement;

(f) The right to full and timely restitution as provided for by
law. The attorney for the Government is required to “fully
advocate the rights of victims on the issue of restitution unless
such advocacy would unduly prolong or complicate the sentencing
proceeding,” and the court is authorized to order restitution by the
defendant including, but not limited to, restitution for property
loss, economic loss, personal injury, or death;

(g) The right to proceedings free from unreasonable delay; and
(h) The right to be treated with fairness and with respect for the

victim’s dignity and privacy.

20

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 21 of 41

24. Restitution. The defendant acknowledges that, pursuant to
the Mandatory Restitution Act of April 24, 1996, Title 18, United States
Code, Section 3663A, the court is required in all instances to order full
restitution to all victims for the losses those victims have suffered as a
result of the defendant’s conduct The defendant also agrees that the
Government will seek and the court may impose an order of restitution
as to victims of the defendant’s relevant conduct With respect to the
payment of restitution, the defendant further agrees that, as part of the
sentence in this matter, the defendant shall be responsible for making
payment of restitution in full, unless the defendant can demonstrate to
the satisfaction of the court that the defendant’s economic
circumstances do not allow for the payment of full restitution in the
foreseeable future, in which case the defendant will be required to make
partial restitution payments The defendant understands and agrees
that the Government has the obligation and the right to pursue any
legal means, including but not limited to, submission of the debt to the
Treasury Offset Program, to collect the full amount of restitution owed

to the victim(s) in a timely fashion Although the defendant may
21_

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 22 of 41

reserve the right to contest the amount of restitution owed, the
defendant agrees to take all steps to facilitate collection of all
restitution, including submitting to debtor’s exams as directed by the
Government. Towards this goal, the defendant agrees to waive any
further notice of forfeiture and agrees that the United States may, at its
sole election, elect to pursue civil and/or criminal forfeiture in the
amount of the victim restitution owed in this case, and the court may
enter both a restitution order and a forfeiture judgment in the amount
of any unpaid restitution found by the court to be due and owing at the
time of sentencing in this matter. The defendant consents to the filing
of any civil complaint or superseding information which may be
necessary to perfect a forfeiture order and further stipulates and agrees
that the defendant’s guilty plea constitutes an admission to all matters
legal and factual necessary for entry of a forfeiture order in this case.
The parties agree that any restitution payments obtained by the United
States or the victim will be applied by the United States to reduce the
restitution obligation in this case. The parties further agree that the

Government will recommend that any assets recovered through
22

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 23 of 41

forfeiture proceedings be remitted to crime victims to reduce the
defendant’s restitution obligation in this case. The defendant
acknowledges that the making of any payments does not preclude the
Government from using other assets or income of the defendant to
satisfy the restitution obligations The defendant understands that the
amount of restitution calculated for purposes of Chapter 5 of the
Sentencing Guidelines might be different than the amount of loss
calculated for purposes of Chapter 2 of the Sentencing Guidelines.

25. Full Restitution. The defendant agrees to make full
restitution to Victim'l in the amount of $50,000 in accordance with a
schedule to be determined by the court The defendant further agrees
that restitution as to any other victim will be determined by the court
The defendant also agrees that full restitution shall be a condition of
any probation or term of supervised release that the defendant receives

26. Restitution for Child Pornographv Cases. The defendant
agrees to allow the court to determine the appropriate restitution based
on Title 18, United States Code, Section 2259 for identifiable victims in

the images of child pornography The defendant agrees to pay
23

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 24 of,41

restitution equal to the loss caused to any identifiable victim of the
offense of conviction pursuant to any applicable statute, including 18
U.S.C. Section 2259. The defendant further agrees to pay restitution
equal to the loss caused to any identifiable victim of his uncharged or
dismissed relevant conduct pursuant to 18 U.S.C. Sections 3663(a)(3)
and 3663A. The defendant’s uncharged or dismissed relevant conduct
for purposes of determining and ordering restitution includes the
possession receipt and distribution of visual depictions of minors

engaged in sexually explicit conduct

G. Information Provided to Court and Probation Office

27 . Background lnformation for Probation Office. The
defendant also understands that the United States will provide to the
United States Probation Office all information in its possession which
the United States deems relevant regarding the defendant’s
background, character, cooperation if any, and involvement in this or

other offenses

24

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 25 of 41

28. Obiections to Pre'Sentence Report. The defendant
understands that pursuant to the United States District Court for the
l\/liddle District of Pennsylvania “Policy for Guideline Sentencing” both
the United States and defendant must communicate to the Probation
Officer within fourteen (14) days after disclosure of the pre'sentence
report any objections they may have as to material information
sentencing classifications sentencing guideline ranges and policy
statements contained in or omitted from the report The defendant
agrees to meet with the United States at least five (5) days prior to
sentencing in a good faith attempt to resolve any substantive
differences lf any issues remain unresolved, they shall be
communicated to the Probation Officer for inclusion in an addendum to
the pre'sentence report The defendant agrees that unresolved
substantive objections will be decided by the court after briefing, or a
pre'sentence hearing, or at the sentencing hearing where the standard
or proof will be a preponderance of the evidence, and the Federal Rules
of Evidence, other than with respect to privileges, shall not apply under

Fed. R. Evid. 1 lOl(d)(B), and the court may consider any reliable
25

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 26 of 41

evidence, including hearsay. ()bjections by the defendant to the pre'
sentence report or the court’s rulings will not be grounds for
withdrawal of a plea of guilty.

29. Relevant Sentencing lnformation. At the sentencing, the
United States will be permitted to bring to the court’s attention and the
court will be permitted to consider, all relevant information with
respect to the defendant’s background, character and conduct including
the conduct that is the subject of the charges which the United States
has agreed to dismiss, and the nature and extent of the defendant’s
cooperation if any. The United States will be entitled to bring to the
court’s attention and the court will be entitled to consider any failure by
the defendant to fulfill any obligation under this Agreement

30. Non~Limitation on Government’s Response. Nothing in this
Agreement shall restrict or limit the nature or content of the United
States’ motions or responses to any motions filed on behalf of the
defendant Nor does this Agreement in any way restrict the
government in responding to any request by the court for briefing,

argument or presentation of evidence regarding the application of
26

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 27 of 41

Sentencing Guidelines to the defendant’s conduct including but not
limited to, requests for information concerning possible sentencing

departures

H. Court Not Bound bV Plea Agreement

31. Court Not Bound bv Terms. The defendant understands
that the court is not a party to and is not bound by this Agreement or
any recommendations made by the parties Thus, the court is free to
impose upon the defendant any sentence up to and including the
maximum sentence of 160 years imprisonment, a fine of $1,500,000, a
maximum term of lifetime supervised release, which shall be served at
the conclusion of and in addition to any term of imprisonment, the costs
of prosecution denial of certain federal benefits and assessments
totaling $30,600.

32. No Withdrawal of Plea Based on Sentence or
Recommendations. lf the court imposes a sentence with which the
defendant is dissatisfied, the defendant will not be permitted to

withdraw any guilty plea for that reason alone, nor will the defendant
27

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 28 of 41

be permitted to withdraw any pleas should the court decline to follow

any recommendations by any of the parties to this Agreement

I. Breach of Plea Agreement bv Defendant

33. Breach of Agreement ln the event the United States

 

believes the defendant has failed to fulfill any obligations under this
Agreement then the United States shall, in its discretion have the
option of petitioning the court to be relieved of its obligations Whether
or not the defendant has completely fulfilled all of the obligations under
this Agreement shall be determined by the court in an appropriate
proceeding at which any disclosures and documents provided by the
defendant shall be admissible and at which the United States shall be
required to establish any breach by a preponderance of the evidence. ln
order to establish any breach by the defendant, the United States is
entitled to rely on statements and evidence given by the defendant

during the cooperation phase of this Agreement

28

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 29 of 41

34. Remedies for Breach. The defendant and the United States
agree that in the event the court concludes that the defendant has
breached the Agreementi

(a) The defendant will not be permitted to withdraw any guilty
plea tendered under this Agreement and agrees not to petition for
withdrawal of any guilty plea;

(b) The United States will be free to make any
recommendations to the court regarding sentencing in this case;

(c) Any evidence or statements made by the defendant during
the cooperation phase will be admissible at any trials or sentencings§

(d) The United States will be free to bring any other charges it
has against the defendant, including any charges originally brought
against the defendant or which may have been under investigation at
the time of the plea. The defendant waives and hereby agrees not to
raise any defense to the reinstatement of these charges based upon
collateral estoppel, Double Jeopardy or other similar grounds

35. Violation of Law While Plea or Sentence Pending. The

defendant understands that it is a condition of this Plea Agreement

29

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 30 of 41

that the defendant refrain from any further violations of state, local or
federal law while awaiting plea and sentencing under this Agreement
The defendant acknowledges and agrees that if the government receives
information that the defendant has committed new crimes while
awaiting plea and/or sentencing in this case, the government may
petition the court and, if the court finds by a preponderance of the
evidence that the defendant has committed any other criminal offense
while awaiting plea or sentencing, the Government shall be free at its
sole election to either! (a) withdraw from this Agreement; or (b) make
any sentencing recommendations to the court that it deems appropriate
The defendant further understands and agrees that, if the court finds
that the defendant has committed any other offense while awaiting plea
or sentencing, the defendant will not be permitted to withdraw any
guilty pleas tendered pursuant to this Plea Agreement and the
government will be permitted to bring any additional charges which it

may have against the defendant

30

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 31 of 41

J. Transfer of Information to IRS

36. Transfer of Case to IRS. The defendant agrees to interpose
no objection to the United States transferring evidence or providing
information concerning the defendant and/or this offense, to other state
and federal agencies or other organizations including, but not limited
to the lnternal Revenue Service, law enforcement agencies and
licensing and regulatory agencies

37. Collection Action bv lRS. Nothing in this Agreement shall
limit the lnternal Revenue Service in its collection of any taxes interest
or penalties due from the defendant arising out of or related in any way
to the offenses identified in this Agreement

38. Rule 6(e) Order for Transfer of lnformation to IRS. The
defendant agrees to interpose no objections to the entry of an order
under Fed. R. Crim. P. 6(e) authorizing transfer to the Examination
Division of the lnternal Revenue Service of the defendant’s documents
or documents of third persons in possession of the Grand Jury, the
United States Attorney or the Criminal lnvestigation Division of the

lnternal Revenue Service.
31

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 32 of 41

39. Cooperation with lRS. The defendant agrees to fully comply
and cooperate with the lnternal Revenue Service by filing all delinquent
or amended tax returns by the date of the defendant’s sentencing, and
to timely file all future returns which may come due during the term of
incarceration probation or supervised release. The defendant also
agrees to cooperate with the lnternal Revenue Service by furnishing the
lnternal Revenue Service with all information pertaining to the
defendants assets and liabilities as well as all documentation in
support of tax returns filed by the defendant during the term of any
sentence imposed pursuant to this guilty plea. The defendant further
agrees to pay all taxes interests and penalties due and owing to the
United States and otherwise fully comply With the tax laws of the
United States The defendant understands and agrees that this
requirement of full compliance with federal tax laws may be made a

condition of any probation or supervised release imposed in this case,

32

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 33 of 41

K. Registration , Civil Commitment & Transfer of Information in
Child Pornographv/ Sex Crimes Cases

40. Sex Offender Registration (Megan’s Law/Adam Walsh Act)
M. The defendant understands that the court, as a condition of
supervised release or probation must order the defendant to comply
with all sex offender registration requirements under the Sex Offender
Registration and Notification Act and that, if applicable, defendant
must register and keep registration current and accurate in each of the
following jurisdictionsf the location of residence; the location of
employment; and location of any school that defendant is attending
The defendant understands that such information must be updated not
later than three business days after any change. A failure to comply
with these and other obligations may subject the defendant to
prosecution under federal law. The defendant acknowledges that one
possible consequence of a guilty plea is that the court may determine,
after the completion of a sentence, that the defendant is a sexually
dangerous offender and may commit the defendant to a medical facility

for treatment

33

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 34 of 41

41. Civil Commitment as Sexuallv Dangerous Person. The
defendant has been advised, and understands that pursuant to Section
4248 of Title 18 of the United States Code, the defendant faces potential
civil commitment as a sexually dangerous person following the
expiration of the defendant’s term of imprisonment The defendant
understands that potential civil commitment would be the subject of a
separate proceeding The defendant further understands that no one,
including the defendant’s attorney or the district court, can predict with
certainty the effect of the defendant’s conviction on such a civil
commitment determination The defendant nevertheless affirms that
the defendant wants to plead guilty regardless of any potential civil
commitment consequences that the defendant’s plea may entail, even if
the consequence is indefinite civil commitment following the expiration
of the defendants term of imprisonment

42. Transfer of Case for Child Custodv Determinations. The
defendant agrees to interpose no objection to the Government’s
transferring evidence or providing information concerning the

defendant and/or this offense to other state or local authorities or

34

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 35 of 41

agencies for purpose of child custody proceedings relating to the

defendant

L. Deportation

43. Deportation/Removal from the United States The
defendant understands that, if defendant is not a United States citizen
deportation/removal from the United States is a possible consequence of
this plea. The defendant further agrees that this matter has been
discussed with counsel who has explained the immigration
consequences of this plea. Defendant still desires to enter into this plea

after having been so advised.

M. ADpeal Waiver

44. Conditional Plea. Pursuant to Rule 11(a)(2) of the Federal
Rules of Criminal Procedure, with the approval of the court and the
consent of the Government, the defendant enters a conditional plea of
guilty to the charges described above while reserving the right on

appeal to review the adverse determinations made by the district court

35

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 36 of 41

regarding the pretrial motions filed by this defendant The parties
acknowledge the defendant shall be allowed to withdraw any plea of
guilty entered pursuant to this Agreement if the defendant prevails on

appeal

N. Other Provisions

45. Agreement Not Binding on Other Agencies. Nothing in this
Agreement shall bind any other United States Attorney’s Office, state
prosecutor’s office or federal, state or local law enforcement agency.

46. No Civil Claims or Suits. The defendant agrees not to
pursue or initiate any civil claims or suits against the United States of
America, its agencies or employees whether or not presently known to
the defendant arising out of the investigation prosecution or
cooperation covered by this Agreement including but not limited to any
claims for attorneys’ fees and other litigation expenses arising out of the
investigation and prosecution of this matter. By the defendant’s guilty

plea in this matter the defendant further acknowledges that the

36

CaSe 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 37 of 41

Government’s position in this litigation was taken in good faith, had a
substantial basis in law and fact and was not vexatious

47 . Plea Agreement Serves Ends of Justice. The United States
is entering into this Plea Agreement with the defendant because this
disposition of the matter fairly and adequately addresses the gravity of
the series of offenses from which the charges are drawn as well as the
defendant’s role in such offenses thereby serving the ends of justice.

48. Merger of All Prior Negotiations. This document states the
complete and only Plea Agreement between the United States Attorney
for the l\/liddle District of Pennsylvania and the defendant in this case,
and is binding only on the parties to this Agreement and supersedes all
prior understandings or plea offers whether written or oral. This
agreement cannot be modified other than in writing that is signed by all
parties or on the record in court No other promises or inducements
have been or will be made to the defendant in connection with this case,
nor have any predictions or threats been made in connection with this
plea. Pursuant to Rule 11 of the Federal Rules of Criminal Procedure,

the defendant certifies that the defendant’s plea is knowing and
37

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 38 of 41

voluntary, and is not the result of force or threats or promises apart
from those promises set forth in this written Plea Agreement

49. The Defendant’s attorney has advised him of his rights
under Federal Rule of Criminal Procedure ll(f) and Federal Rule of
Evidence 410. Upon signing this agreement the Defendant waives
these rights and agrees that the content of this Agreement including
the Factual Basis (incorporated herein), may be used against him at
any time in any proceeding should he violate or refuse to follow through
on this plea agreement regardless of whether the plea agreement has
been accepted by the Court In other words even though Federal Rule
of Criminal Procedure ll(d) may allow, under certain circumstances a
defendant to withdraw a guilty plea before the Court accepts the plea,
the Defendant understands that by signing this Agreement the
contents of this Agreement and the Factual Basis may be used against
him even if he withdraws the guilty plea immediately thereafter, and
even if he chooses not to plead guilty at or prior to the change of plea

hearing

38

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 39 of 41

50. Furthermore, the Government may use Defendant’s guilty
plea, any statement made under oath at the change-of'plea hearing,
and the Factual Basis statement incorporated into this plea agreement
against him in any proceeding, including at trial.

51. Defendant is Satisfied with Assistance of Counsel. The
Defendant agrees that the defendant has discussed this case and this
plea agreement in detail with the defendant’s attorney who has advised
the defendant of the defendant’s Constitutional and other trial and
appeal rights the nature of the charges the elements of the offenses the
United States would have to prove at trial, the evidence the United
States would present at such trial, possible defenses the advisory
Sentencing Guidelines and other aspects of sentencing, potential losses
of civil rights and privileges and other potential consequences of
pleading guilty in this case, The defendant agrees that the defendant is
satisfied with the legal services and advice provided to the defendant by
the defendant’s attorney.

52. Required Signatures. None of the terms of this Agreement

 

shall be binding on the Office of the United States Attorney for the
39

 

Case 1:16-cr-00082-YK) Document 820 Filed 01/11/18 Page 40 of 41

Middle District of Pennsylvania until signed by the defendant and

defense counsel and then signed by the United States Attorney or his

designee.

40

 

Case 1:16-cr-00082-YK Document 820 Filed 01/11/18 Page 41 of 41

ACKNOWLEDGMENTS

l have re ad this agreement and carefully reviewed every part of it
with my attorney. l fully understand it and l voluntarily agree to it

l/\

 

7\[.!(.1¢5; 2( y
Date scotr)i“’tANE
Defendant

l am the defendant’s counsel. l have carefully reviewed every part
of this agreement with the defendant To my knowledge my client’s
decision to enter into this agreement is an informed and voluntary one,

/ //! Z&/d’ z
Date GERALD A. LORD
Counsel for Defendant

 

DAVID J. FREED
UNITED STATES ATTORNEY

 
 
 
   
   

  
 

/ l` l By- L'A_’
Date ME EDITH A. TAYL 0
ASSISTANT U.S. ATT 0 RNEY

[/[[/Ig By: MOW

Date AUsTIN 1€1./ BERRY
TRIAL ATToRNEY

41

